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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION



UNITED STATES OF AMERICA,             )
                                      )
                                      ) CRIMINAL ACTION FILE
v.                                    )
                                      ) NUMBER 1:09-cr-406-TCB-JFK-2
BENJAMIN STANLEY,                     )
                                      )
           Defendant.                 )



                                 ORDER

     This matter is before the Court on Defendant Benjamin Stanley’s

objections [320] to Magistrate Judge King’s Report and Recommendation

[318], which recommends that Stanley’s motion “to vacate, set-aside,

correct, or remand for dismissal a jury guilty verdict under F.R.Civ.P.

60(b)” [317] be dismissed without prejudice as premature. Also pending is

Stanley’s motion for summary judgment [321].

     A district judge has a duty to conduct a “careful and complete” review

of a magistrate judge’s R&R. Williams v. Wainwright, 681 F.2d 732, 732

(11th Cir. 1982) (quoting Nettles v. Wainwright, 677 F.2d 404, 408 (5th
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Cir. 1982)).1 This review takes different forms depending on whether there

are objections to the R&R. The district judge must “make a de novo

determination of those portions of the [R&R] to which objection is made.”

28 U.S.C. § 636(b)(1)(C). In contrast, those portions of the R&R to which

no objection is made need only be reviewed for clear error. Macort v.

Prem, Inc., 208 F. App’x 781, 784 (11th Cir. 2006).2

       “Parties filing objections must specifically identify those findings

objected to. Frivolous, conclusive or general objections need not be

considered by the district court.” Nettles, 677 F.2d at 410 n.8. “This rule

facilitates the opportunity for district judges to spend more time on matters

actually contested and produces a result compatible with the purposes of

the Magistrates Act.” Id. at 410.

       1 The Eleventh Circuit has adopted as binding precedent all Fifth Circuit decisions

issued before October 1, 1981, as well as all decisions issued after that date by the Unit B
panel of the former Fifth Circuit. Stein v. Reynolds Sec., Inc., 667 F.2d 33, 34 (11th Cir.
1982); see also United States v. Schultz, 565 F.3d 1353, 1361 n. 4 (11th Cir. 2009)
(discussing the continuing validity of Nettles).
       2 Macort dealt only with the standard of review to be applied to a magistrate’s

factual findings, but the Supreme Court has held that there is no reason for the district
court to apply a different standard to a magistrate’s legal conclusions. Thomas v. Arn,
474 U.S. 140, 150 (1985). Thus, district courts in this circuit have routinely applied a
clear-error standard to both. See Tauber v. Barnhart, 438 F. Supp. 2d 1366, 1373–74
(N.D. Ga. 2006) (collecting cases). This is to be contrasted with the standard of review
on appeal, which distinguishes between the two. See Monroe v. Thigpen, 932 F.2d 1437,
1440 (11th Cir. 1991) (when a magistrate’s findings of fact are adopted by the district
court without objection, they are reviewed on appeal under a plain-error standard, but
questions of law remain subject to de novo review).


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      The district judge also has discretion to decline to consider arguments

that were not raised before the magistrate judge. Williams v. McNeil, 557

F.3d 1287, 1292 (11th Cir. 2009). Indeed, a contrary rule “would effectively

nullify the magistrate judge’s consideration of the matter and would not

help to relieve the workload of the district court.” Id. (quoting United

States v. Howell, 231 F.3d 615, 622 (9th Cir. 2000)).

      After conducting a complete and careful review of the R&R, the

district judge may accept, reject or modify the magistrate judge’s findings

and recommendations. 28 U.S.C. § 636(b)(1)(C); Williams, 681 F.2d at

732. The district judge may also receive further evidence or recommit the

matter to the magistrate judge with instructions. 28 U.S.C. § 636(b)(1)(C).

      The Court has conducted a careful, de novo review of the report and

recommendation and Stanley’s objections thereto. Having done so, the

Court finds that Magistrate Judge King’s factual and legal conclusions were

correct and that Stanley’s objections have no merit. Specifically, as set

forth in the R&R, Stanley may not seek collateral review while direct appeal

of his conviction is pending. United States v. Khoury, 901 F.2d 975, 976

(11th Cir. 1990); see also United States v. Casaran-Rivas, 311 F. App’x 269,

272 (11th Cir. 2009) (“[A]bsent extraordinary circumstances, a defendant



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may not seek collateral relief while his direct appeal is pending, as the

outcome of the direct appeal may negate the need for habeas relief.”). No

extraordinary circumstances exist to warrant departure from this rule.

Stanley also may not seek review under Federal Rule of Civil Procedure

60(b). See United States v. Mosavi, 138 F.3d 1365, 1366 (11th Cir. 1998)

(“Rule 60(b) simply does not provide for relief from judgment in a criminal

case . . . .”). Finally, in his motion for summary judgment Stanley reiterates

his premature claims in a different form, making no effort to argue his

claims are not untimely.

      The Court ADOPTS AS ITS ORDER the R&R [318]. The Court

DISMISSES without prejudice as premature Stanley’s motion “to vacate,

set-aside, correct, or remand for dismissal a jury guilty verdict under

F.R.Civ.P. 60(b)” [317]. Stanley’s motion for summary judgment [321] is

likewise DENIED.

      IT IS SO ORDERED this 26th day of August, 2013.




                                    ___________________________
                                    Timothy C. Batten, Sr.
                                    United States District Judge




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